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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA


 VICKI SHAW,                                   )
                           Movant,             )
                                               )
       vs.                                     )      2:11-cv-137-WTL-MJD
                                               )      2:08-cr-0014-WTL-CMM-1
 UNITED STATES OF AMERICA.                     )




                     Entry Denying Motion for Relief Pursuant to
               28 U.S.C. ' 2255 and Denying Certificate of Appealability

        For the reasons explained in this Entry, the motion of Vicki Shaw (“Shaw”)
 for relief pursuant to 28 U.S.C. ' 2255 must be denied and the action dismissed
 with prejudice. In addition, the court finds that a certificate of appealability
 should not issue.

                                I. The ' 2255 Motion

              Background

        On July 21, 2009, Shaw was charged in a Superseding Indictment with drug
 offenses in 2:08-cr-0014-WTL-CMM-1. On September 11, 2009, Shaw filed a petition
 to enter a plea of guilty. That same day, the parties submitted a written plea
 agreement and a written stipulated factual basis of the parties.

        Paragraph 15 of the plea agreement states that Shaw “expressly waives her
 right to appeal the conviction and any sentence imposed on any ground, including
 the right to appeal conferred by 18 U.S.C. § 3742.” It further states that Shaw
 “expressly agrees not to contest, or seek to modify, her conviction or her sentence or
 the manner in which it was determined in any proceeding, including, but not
 limited to, an action brought under 28 U.S.C. § 2255.”

        A change of plea hearing was conducted on September 11, 2009. In response
 to the questions posed by the court, Shaw testified that she and her attorney had
 gone over the petition to enter a plea of guilty and the plea agreement. (Transcript
 of Plea Hearing at pp. 7-8). Shaw testified that she signed, read and understood
 those documents. Id. Shaw testified that her attorney aided her in her
 understanding of both documents. Id. at 8. The court also elicited testimony from
 Shaw affirming her ability to read and comprehend. Id. at pp. 4-7.
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        During the change of plea hearing, the court discussed the many rights that
 Shaw was giving up by pleading guilty, including the right to appeal her conviction
 and sentence. Id. at pp. 31-32. At the end of the change of plea hearing, the court
 determined that Shaw was “fully competent and capable of entering informed pleas
 in this case.” Id. at p. 38. The court further concluded that Shaw’s pleas of guilty
 were “knowing and voluntary and not the result of any type of force, threat, or
 promises, except those particular promises contained in the plea agreement that I
 have gone over with you.” Id. at 38-39.

       A sentencing hearing was conducted on May 13, 2010. The court accepted
 Shaw’s plea of guilty to Counts I, II and III of the Superseding Indictment. Shaw
 was sentenced to a term of imprisonment of 235 months on each count, to be served
 concurrently, to be followed by an aggregate term of supervised release of five years.
 Judgment was entered on the docket on May 18, 2010.

       Shaw filed a direct appeal of her conviction and sentence. On September 24,
 2010, the Seventh Circuit granted the government’s motion to dismiss because
 Shaw had waived her opportunity to appeal. United States v. Shaw, No. 10-2289
 (7th Cir. Sept. 24, 2010). Shaw filed her § 2255 motion on May 19, 2011.

              Discussion

        A motion pursuant to 28 U.S.C. ' 2255 is the presumptive means by which a
 federal prisoner can challenge her conviction or sentence. See Davis v. United
 States, 417 U.S. 333, 343 (1974). In her § 2255 motion, Shaw asserts four claims: 1)
 she was denied effective assistance of counsel when counsel failed to confirm service
 of a subpoena on a key witness and failed to ask for a continuance of the sentencing
 hearing when that witness did not appear; 2) she was denied her right to appeal the
 two-level gun enhancement because this issue was not part of the plea agreement;
 3) she was denied effective assistance of counsel when attorney Michael Donahoe
 failed to notify her of a 5K-1 offer that was available to her; and 4) she was denied
 effective assistance of counsel when Tony Zirkle failed to assist her and was
 disbarred three months after she retained him. The United States argues that
 Shaw’s ' 2255 motion is barred by the waiver of post-conviction relief rights found
 in the written plea agreement.

        The Seventh Circuit has recognized the validity of waivers such as that
 included in the plea agreement in this case. “A defendant may validly waive both
 his right to a direct appeal and his right to collateral review under § 2255 as part of
 his plea agreement.” Keller v. United States, 657 F.3d 675, 681 (7th Cir. 2011). Such
 waivers are upheld and enforced with limited exceptions in cases in which 1) the
 plea agreement was involuntary, 2) the district court relied on a constitutionally
 impermissible factor such as race, 3) the sentence exceeded the statutory maximum,
 or 4) the defendant claims ineffective assistance of counsel in relation to the
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 negotiation of the plea agreement. Id.; see also Mason v. United States, 211 F.3d
 1065, 1069 (7th Cir. 2000) (because the ineffective assistance of counsel challenge
 relating to sentencing had nothing to do with the issue of deficient negotiation of
 the waiver, the petitioner waived his right to seek post-conviction relief); Jones v.
 United States, 167 F.3d 1142, 1145 (7th Cir. 1999) (“waivers are enforceable as a
 general rule; the right to mount a collateral attack pursuant to ' 2255 survives only
 with respect to those discrete claims which relate directly to the negotiation of the
 waiver@).

        In Mason, 211 F.3d at 1069, the court suggested the following analysis in
 determining whether a claim has been waived: A[C]an the petitioner establish that
 the waiver was not knowingly or voluntarily made, and/or can he demonstrate
 ineffective assistance of counsel with respect to the negotiation of the waiver?@

        With respect to Shaw’s first two claims of ineffective assistance of counsel,
 she urges the court to carve out an exception to the waiver provision for a claim of
 ineffective assistance of counsel because her attorney Richard Ford failed to make
 sure a key witness was present at the sentencing hearing to testify that Shaw’s
 guns were not associated with the drug offenses. Ford conceded at the sentencing
 hearing that the two-level firearms enhancement was proper. Shaw contends that
 the two-level gun enhancement was not part of her plea agreement.

        Shaw’s factual contention is inaccurate. Paragraph 14 of the plea agreement
 states, in part, that “the government reserves the right to present evidence and
 argument that she possessed a firearm during the commission of the offense
 charged in Count One and should receive a two-level increase to her total offense
 level pursuant to U.S.S.G. § 2D1.1(b)(1). Shaw reserves the right to contest this
 argument.” Plea Agreement, at page 8. Therefore, the two-level firearm
 enhancement was addressed in the plea agreement. Shaw has not shown that her
 waiver was not knowingly or voluntarily made in this regard.

         As to Shaw’s third claim, a letter from prospective counsel Stanley Robison
 dated February 3, 2009, told Shaw about a 5K-1 offer that was available to her
 through February 5, 2009. Shaw argues that she was denied effective assistance of
 counsel because her then current counsel, Michael Donahoe, never mentioned the
 5K-1 offer. This claim does not have any bearing on the voluntariness of her plea.
 Moreover, Shaw did receive a three level reduction for her acceptance of
 responsibility and assistance to authorities, so she not only was aware of the 5K-1
 offer, she obtained the full benefit of that offer. (Sentencing Transcript at p. 13).

       Shaw’s final claim is that she was denied effective assistance of counsel when
 attorney Tony Zirkle failed to assist her and was disbarred three months after she
 retained him. Zirkle entered his appearance on February 5, 2009, and his motion to
 withdraw was granted on May 5, 2009. Richard Ford was appointed as counsel on
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 May 12, 2009. Shaw was continuously represented by counsel and had counsel with
 her at every stage of the proceedings, including during the negotiation of the plea
 agreement that was filed in September 2009. No exception to the plea waiver
 provision is implicated under these circumstances.

        “We have repeatedly held that a voluntary and knowing waiver of an appeal
 is valid and must be enforced.” United States v. Sakellarion, 649 F.3d 634, 638 (7th
 Cir. 2011)(internal quotation omitted). “The presumption of verity [of a defendant’s
 statements in pleading guilty] is overcome only if the defendant satisfies a heavy
 burden of persuasion.” United States v. Logan, 244 F.3d 553, 558 (7th Cir.
 2001)(internal quotation omitted). Shaw has not met that burden here.

        Shaw has not shown that her plea agreement was not knowingly and
 voluntarily made. In addition, she has not shown any ineffective assistance of
 counsel as it relates to her plea agreement. Accordingly, the waiver provision is
 valid and will be enforced. Her ' 2255 motion is barred by the waiver provision.

       The foregoing circumstances show that Shaw is not entitled to relief pursuant
 to 28 U.S.C. ' 2255. The motion for relief pursuant to ' 2255 is therefore denied.
 Judgment consistent with this Entry shall now issue.

       This Entry and the accompanying Judgment shall also be entered on
 the docket in the underlying criminal action, No. 2:08-cr-014-WTL-CMM-1.

                                  II. Certificate of Appealability

       Pursuant to Federal Rule of Appellate Procedure 22(b), Rule 11(a) of the
 Rules Governing ' 2255 Proceedings, and 28 U.S.C. ' 2253(c), the court finds that
 Shaw has failed to show that reasonable jurists would find Ait debatable whether
 the petition states a valid claim of the denial of a constitutional right@ and
 Adebatable whether [this court] was correct in its procedural ruling.@ Slack v.
 McDaniel, 529 U.S. 473, 484 (2000). The court therefore denies a certificate of
 appealability.

         IT IS SO ORDERED.
                                                               _______________________________
                                                               Hon. William T. Lawrence, Judge
 Date: 10/04/12                                                United States District Court
                                                               Southern District of Indiana


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